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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA,

                     Plaintiff,

      v.                                Crim. Action No.: 1:21-CR-57
                                                          (Judge Kleeh)

DIANN CAROL CLARK,

                     Defendant.

    ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
      CONCERNING PLEA OF GUILTY IN FELONY CASE [DKT. NO. 18],
       ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

      On       November   4,   2021,   the    Defendant     Diann   Carole   Clark

(“Clark”), appeared before United States Magistrate Judge Michael

J. Aloi and moved for permission to enter a plea of GUILTY to Count

One of the Information, charging her with Willful Failure to

Collect or Pay over Employment Tax, in violation of Title 26,

U.S.C., Section 7202.           This Court referred Defendant’s plea of

guilty to the magistrate judge for the purpose of administering

the allocution, pursuant to Federal Rule of Criminal Procedure 11,

making     a    finding   as   to   whether    the   plea    was    knowingly   and

voluntarily entered, and recommending to this Court whether the

plea should be accepted. Clark stated that she understood that the

magistrate judge is not a United States District Judge, and Clark

consented to pleading before the magistrate judge.
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      Based    upon    Defendant   Clark’s    statements   during   the     plea

hearing    and   the    Government’s       proffer   establishing    that     an

independent factual basis for the plea existed, the magistrate

judge found that Defendant Clark was competent to enter a plea,

that the plea was freely and voluntarily given, that she was aware

of the nature of the charges against her and the consequences of

her plea, and that a factual basis existed for the tendered plea.

The magistrate judge issued a Report and Recommendation Concerning

Plea of Guilty in Felony Case (“R&R”) [Dkt. No. 18] finding a

factual basis for the plea and recommending that this Court accept

Defendant Clark’s plea of guilty to Count One of the Information.

      The magistrate judge released Defendant on the terms of the

Order Setting Conditions of Release. [ECF No. 17].

      The magistrate judge also directed the parties to file any

written objections to the R&R within fourteen (14) days after

service of the R&R.         He further advised that failure to file

objections would result in a waiver of the right to appeal from a

judgment of this Court based on the R&R.             Neither the Defendant

nor the Government filed objections to the R&R.

      Accordingly, this Court ADOPTS the magistrate judge’s R&R

[Dkt. No. 18], provisionally ACCEPTS Defendant Clark’s guilty

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plea, and ADJUDGES her GUILTY of the crime charged in Count One of

the Information.

      Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

the Court DEFERS acceptance of the proposed plea agreement until

it has received and reviewed the presentence investigation report

prepared in this matter.

      Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS the

following:

      1.     The Probation Officer shall undertake a presentence

investigation of Clark, and prepare a presentence investigation

report for the Court;

      2.     The Government and Defendant Clark shall each provide

their narrative descriptions of the offense to the Probation

Officer by December 14, 2021;

      3.     The presentence investigation report shall be disclosed

to Defendant Clark, counsel for Defendant, and the Government on

or before February 14, 2022; however, the Probation Officer shall

not disclose any sentencing recommendations made pursuant to Fed.

R. Crim. P. 32(e)(3);

      4.     Counsel may file written objections to the presentence

investigation report on or before February 28, 2022;

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      5.    The Office of Probation shall submit the presentence

investigation report with addendum to the Court on or before March

10, 2022; and

      6.    Counsel may file any written sentencing memorandum or

statements     and     motions   for   departure   from    the   Sentencing

Guidelines, including the factual basis for the same, on or before

March 24, 2022.

      The Court further ORDERS that prior to sentencing, counsel

for Defendant review with her the revised Standard Probation and

Supervised Release Conditions adopted by this Court on November

29, 2016, pursuant to the standing order entered by Chief Judge

Groh, In Re: Revised Standard Probation and Supervised Release

Conditions, 3:16-MC-56.

      The Court will conduct the Sentencing Hearing for Defendant

on April 11, 2022, at 10:00 A.M., at the Clarksburg, West Virginia

point of holding court.          If counsel anticipates having multiple

witnesses    or   an   otherwise   lengthy   sentencing   hearing,    please

notify the Judge’s chamber staff so that an adequate amount of

time can be scheduled.

      It is so ORDERED.




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      The Clerk is directed to transmit copies of this Order to

counsel of record and all appropriate agencies.

DATED: December 2, 2021


                                    /s/ Thomas S. Kleeh
                                    THOMAS S. KLEEH
                                    UNITED STATES DISTRICT JUDGE




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